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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


 ALEXANDER GRINIS, MICHAEL
 GORDON, and ANGEL SOLIZ, on behalf of
 themselves and those similarly situated,

                        Petitioners
                v.
                                                          Civil Action No. 20-cv-10738-GAO
 STEPHEN SPAULDING, Warden of
 Federal Medical Center Devens, and
 MICHAEL CARVAJAL, Director of the
 Federal Bureau of Prisons, in their official
 capacities,

                        Respondents.



                     RESPONDENTS’ SUPPLEMENTAL DECLARATION

       After the April 22, 2020 filing of Respondents’ Omnibus Response to Petition for Writ of

Habeas Corpus and Opposition to Petitioners’ Motion for Immediate Bail and Injunctive and

Declaratory Relief (ECF No. 32), supplemental guidance was issued by the Bureau of Prisons

(“BOP”) with regard to BOP’s home confinement prioritization. The supplemental declaration

of Amber Bourke, Case Manager, Federal Medical Center, Devens, Massachusetts (“Supp.
Bourke Decl.”), attached hereto, provides the most current information regarding BOP’s priority

home confinement program, and clarifies that the priority factors that BOP has generally

considered for home confinement of inmates are subject to deviation in BOP’s discretion in

certain circumstances, and are subject to revision as the situation progresses. The BOP is, at this

time, prioritizing for consideration those inmates who either, (1) have served 50% or more of their

sentences; or, (2) have 18 months or less remaining in their sentences and have served 25% or

more of their sentences. See Supp. Bourke Decl. ¶ 19. As BOP processes the inmates eligible

for home confinement under these criteria and learns more about the COVID-19 pandemic and
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its effect on BOP facilities, it is assessing whether and how to otherwise prioritize consideration.

Id.

       Respondents continue to oppose the relief requested by Petitioners. Petitioners cannot

demonstrate that the BOP, or FMC Devens, has acted with deliberate indifference and their

constitutional claims under the Eighth Amendment must fail. Moreover, the release of hundreds

of prisoners by this Court is neither permitted by law, nor would it serve the health and safety of

the inmates or the general public. Therefore, this Court must deny the Petition for Writ of Habeas

Corpus, deny class certification in this case, and deny Petitioners’ motions for a temporary

restraining order, injunctive relief and declaratory judgment.


                                                      Respectfully submitted,

                                                      ANDREW E. LELLING
                                                      United States Attorney


                                               By:    /s/ Eve A. Piemonte
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       Dated: April 24, 2020                          Eve.Piemonte@usdoj.gov




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